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The Honorable Stephen Ehikian
Acting Administrator
U.S. General Services Administration
1800 F Street, NW
Washington, DC 20405

Dear Acting Administrator Ehikian:

In my capacity as President of the United States Institute of Peace (USIP), I write to request that
the General Services Administration (GSA) accept transfer of excess property of the United
States Institute of Peace (USIP) at 2301 Constitution Avenue NW, Washington, D.C. 20037, for
less than the property’s fair market value under 40 U.S.C. § 524(a)(5) and related regulations.

       Identified Property: The property is a headquarters facility of USIP, located at 2301
       Constitution Avenue, NW, Washington, D.C. 20037, including its grounds, approaches,
       improvements, and appurtenances. The main building is approximately 155,000 square
       feet, the Bush Annex is approximately 11,000 square feet, and the Clinton Annex is
       approximately 16,000 square feet. The property sits on approximately three acres.

Consistent with 40 U.S.C. § 524(a)(5) and related regulations, I have concluded that it is in the
best interest of USIP, the federal government, and the United States for USIP to transfer its real
property located at 2301 Constitution Ave NW, Washington, D.C. 20037, to GSA and to seek an
exception from the 100 percent reimbursement requirement for the building. The construction
for USIP’s headquarters cost approximately $186 million, and the building has an estimated fair
market value of $500 million. I have determined that USIP no longer needs the property and that
an exception from the 100 percent reimbursement requirement would further essential agency
program objectives for several independently sufficient reasons.

First, the cost of maintaining USIP’s real property is significant. In 2024, USIP spent around
$1.6 million on maintenance services and $2.3 million for maintenance of the grounds. Those
expenses do not include the cost of security for the building. Relieving USIP of those financial
obligations will enable USIP to focus its effort on “serv[ing] the people and the Government
through the widest possible range of education and training, basic and applied research
opportunities, and peace information services on the means to promote international peace and
the resolution of conflicts among the nations and peoples of the world without recourse to
violence.” 22 U.S.C. § 4601(b). None of these activities require that USIP operate and manage
an expensive headquarters.

Second, USIP has strayed far from its original mandate. Since its creation, USIP has morphed
into a sprawling entity engaged in costly workstreams that are not specified in 22 U.S.C. § 4604
and that duplicate the efforts of other federal agencies, including the State Department. These
extra-statutory functions divert attention and resources away from USIP’s fulfillment of its
statutory mandate. Transferring an expensive headquarters to GSA will enable USIP to refocus

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its efforts on discrete responsibilities, disengage from redundant non-statutory functions, and
achieve greater efficiencies in its operation.

Third, President Trump has ordered USIP’s reduction to its statutory minima and an
accompanying reduction in force. In effectuating that order, I have identified significant and
unnecessary overhead expenses and have determined that USIP no longer requires a large and
expensive headquarters building.

Finally, satisfying Congress’s mandate does not require USIP to own its own building. USIP is
capable of “advanc[ing] the history, science, art, and practice of international peace and the
resolution of conflicts among nations without the use of violence” without the ownership of a
large and expensive building. Id. § 4601(a)(9). Likewise, the transfer of USIP’s headquarters to
GSA will in no way affect USIP’s obligation to “establish a Jennings Randolph Program,” “enter
into formal and informal relationships with other institutions,” “establish a Jeannette Rankin
Research Program,” “develop programs to make international peace and conflict resolution
research, education, and training more available and useful,” “provide, promote, and support
peace education and research programs,” “conduct training, symposia, and continuing education
programs,” “develop, for publication or other public communication, and disseminate, the
carefully selected products of the Institute,” and “establish the Spark M. Matsunaga Scholars
Program.” Id. § 4604(b)(1)-(10).

For all of these reasons, I request an exception from the 100 percent reimbursement requirement.
Please feel free to contact me should you have any questions.



                                        / S / _______________________
                                                Nate Cavanaugh
                                                President of USIP




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